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                        IN THE UNITED STATES BANKRUPTCY COURT
                        FOR THE SOUTHERN DISTRICT OF NEW YORK

--------------------------------------------------------- x
                                                          :
In re:                                                    : Chapter 11
                                                          :
GRUPO AEROMÉXICO, S.A.B. de C.V., et : Case No. 20-11563 (SCC)
al.,1                                                     :
                                                          : (Jointly Administered)
                    Debtors.                              :
                                                          :
--------------------------------------------------------- x

                     FIRST AMENDED VERIFIED STATEMENT OF THE
                     AD HOC GROUP OF UNSECURED CLAIMHOLDERS
                         PURSUANT TO BANKRUPTCY RULE 2019

         Pursuant to Rule 2019 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy

Rules”), certain beneficial holders or the investment advisors or managers for certain beneficial

holders as identified on Exhibit A hereto (collectively, the “Ad Hoc Group of Unsecured

Claimholders”) hereby submit this amended verified statement (this “Amended Verified

Statement”), and in support hereof state as follows:

         1.       On or about July 2021, certain members of the Ad Hoc Group of Unsecured

Claimholders retained attorneys presently with Gibson, Dunn & Crutcher LLP (“Gibson Dunn”)

to represent them as counsel in connection with the pending chapter 11 cases of the above-

captioned debtors and certain of their subsidiaries and affiliates (collectively, the “Debtors”). From

time to time thereafter, certain additional holders of unsecured claims have joined the Ad Hoc

Group of Unsecured Claimholders.




1
    The Debtors in these cases, along with each Debtor’s registration number in the applicable jurisdiction, are as
    follows: Grupo Aeroméxico, S.A.B. de C.V. 286676; Aerovías de México, S.A. de C.V. 108984; Aerolitoral, S.A.
    de C.V. 217315; Aerovías Empresa de Cargo, S.A. de C.V. 437094-1. The Debtors’ corporate headquarters is
    located at Paseo de la Reforma No. 243, piso 25 Colonia Cuauhtémoc, Mexico City, C.P. 06500.

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       2.      On August 9, 2021, the Ad Hoc Group of Unsecured Claimholders filed the Verified

Statement of the Ad Hoc Group of Unsecured Claimholders Pursuant to Bankruptcy Rule 2019

[Docket No. 1530]. Since that time, the membership of the Ad Hoc Group of Unsecured

Claimholders and the disclosable economic interests in relation to the Debtors held or managed by

such members has changed. The Ad Hoc Group of Unsecured Claimholders submits this Amended

Verified Statement accordingly.

       3.      As of the date of this Amended Verified Statement, Gibson Dunn represents (as

that term is defined in Bankruptcy Rule 2019(a)(2)) the members of the Ad Hoc Group of

Unsecured Claimholders in their capacity as holders of general unsecured claims (the “Unsecured

Claims”) asserted against one or more of the Debtors.

       4.      Gibson Dunn does not represent or purport to represent any other entities in

connection with the Debtors’ chapter 11 cases. Gibson Dunn does not represent the Ad Hoc Group

of Unsecured Claimholders as a “committee” (as such term is used in the Bankruptcy Code and

the Bankruptcy Rules) and does not undertake to represent the interests of, and is not a fiduciary

for, any creditor, party in interest, or other entity that has not signed a retention agreement with

Gibson Dunn. In addition, the Ad Hoc Group of Unsecured Claimholders does not represent or

purport to represent any other entities in connection with the Debtors’ chapter 11 cases.

       5.      Upon information and belief formed after due inquiry, Gibson Dunn does not hold

any disclosable economic interests (as that term is defined in Bankruptcy Rule 2019(a)(1)) in

relation to the Debtors.

       6.      The names and addresses of each member of the Ad Hoc Group of Unsecured

Claimholders, together with the nature and amount of the disclosable economic interests held by

each such member in relation to the Debtors, are set forth in Exhibit A attached hereto. The



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information set forth in Exhibit A is based on information provided to Gibson Dunn by the

members of the Ad Hoc Group of Unsecured Claimholders and is intended only to comply with

Bankruptcy Rule 2019 and not for any other purpose.

       7.      The undersigned verifies that the foregoing is true and correct to the best of their

knowledge.

       8.      Nothing contained in this Amended Verified Statement is intended or shall be

construed to constitute: (i) a waiver or release of the rights of the members of the Ad Hoc Group

of Unsecured Claimholders to have any final order entered by, or other exercise of the judicial

power of the United States performed by, an Article III court; (ii) a waiver or release of the rights

of the members of the Ad Hoc Group of Unsecured Claimholders to have any and all final orders

in any and all non-core matters entered only after de novo review by a United States District Judge;

(iii) consent to the jurisdiction of the Court over any matter; (iv) an election of remedies; (v) a

waiver or release of any rights the members of the Ad Hoc Group of Unsecured Claimholders may

have to a jury trial; (vi) a waiver or release of the right to move to withdraw the reference with

respect to any matter or proceeding that may be commenced in these chapter 11 cases against or

otherwise involving the members of the Ad Hoc Group of Unsecured Claimholders; or (vii) a

waiver or release of any other rights, claims, actions, defenses, setoffs or recoupments to which

the members of the Ad Hoc Group of Unsecured Claimholders are or may be entitled, in law or in

equity, under any agreement or otherwise, with all such rights, claims, actions, defenses, setoffs or

recoupments being expressly reserved.

       9.      The Ad Hoc Group of Unsecured Claimholders, through its undersigned counsel,

reserves the right to amend or supplement this Amended Verified Statement in accordance with

the requirements of Bankruptcy Rule 2019 at any time in the future.



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 Dated: September 17, 2021        GIBSON, DUNN & CRUTCHER LLP
        New York, New York
                                  /s/ Joshua K. Brody

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                                  Scott J. Greenberg (Bar No. 4126991)
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                                  Counsel to the Ad Hoc Group of Unsecured
                                  Claimholders




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                                     Exhibit A

                           Disclosable Economic Interests
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             Name2                                 Address                        Nature & Amount of Economic Interest3
Bank of America, National           Gateway Village #900                        Unsecured Claims:4 $32,492,534.00
Association                         900 West Trade St. NC1-026-05-41
                                    Charlotte, NC 28202
Invictus Global Management          310 Comal Street                            Unsecured Claims: $47,730,000.00
                                    Building A, Suite 229
                                    Austin, TX 78702
Nut Tree Capital Management         55 Hudson Yards                             Unsecured Claims: $150,000,000.00
                                    22nd Floor
                                    New York, NY 10001
P. Schoenfeld Asset                 1350 6th Avenue                             Unsecured Claims: $29,300,000.00
Management                          21st Floor
                                    New York, NY 10019




       2
           Each entity listed herein holds disclosable economic interests or acts as investment manager or advisor to funds
           or accounts (or their respective affiliates) that hold disclosable economic interests in relation to the Debtors. All
           amounts are denominated in U.S. dollars.
       3
           The amounts set forth herein (i) reflect the filed amount, allowed amount or face amount of the subject claim, as
           applicable, and (ii) may include disclosable economic interests that are subject to pending settlement.
       4
           For the avoidance of doubt, the term “Unsecured Claims”, as defined herein, does not include any funded debt
           claims that have been asserted or may be asserted against the Debtors.
